IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
V. Case No. 23-00078-01-CR-W-DGK
DAVID L. KERR,
Defendant.
PLEA AGREEMENT

Pursuant to Rule 11(¢)(1)(C) of the Federal Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the United
States”), represented by Teresa Moore, United States Attorney, and Jeffrey Q. McCarther,
Assistant United States Attorney, and the defendant, David L. Kerr (“the defendant”), represented
by John A. Picerno.

The defendant understands and agrees that this plea agreement is only between David L.
Kerr and the United States Attorney for the Western District of Missouri, and that it does not bind
any other federal, state, or local prosecution authority or any other government agency, unless
otherwise specified in this agreement.

2. Defendant's Guilty Plea. The defendant agrees to and hereby does plead guilty to
Count One of the Information charging the defendant with violation of 21 U.S.C. §§ 843(b) and
(d)(1), that is, Use of a Communication Facility in Drug Trafficking. By entering into this plea

agreement, the defendant admits having knowingly committed this offense, and admits being

guilty of this offense.

Case 4:23-cr-00078-DGK Document4 Filed 04/19/23 Page 1 of 12
3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which defendant is pleading guilty are as follows:

On or between December 3, 2022, and January 5, 2023, the defendant,
David L. KERR, utilizing a cellular telephone, exchanged numerous text messages
with a 16-year-old girl. One of the purposes of the text messages was to arrange
for the sale of marijuana from KERR to the girl on January 5, 2023, at KERR’s
address of 216 South Jewell Street, Liberty, Missouri, located in the Western
District of Missouri. On January 5, 2023, the girl drove to KERR’s address for the
purpose of purchasing marijuana. KERR sold approximately 3.5 grams of

marijuana to the girl at that location.

For purposes of this agreement, KERR admits that on or between
December 3, 2022, and January 5, 2023, the above-noted text exchanges took place
while he was located in the Western District of Missouri. Further, KERR admits
that he was aware the 16-year-old girl was under the age of eighteen prior to selling
her marijuana.

4. Use of Factual Admissions and Relevant Conduct. The defendant acknowledges,
understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining defendant’s guilt and advisory sentencing
range under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. § 1B1.3(a)(2). The defendant
acknowledges, understands and agrees that in calculating the offense level for the charge to which
defendant is pleading guilty, the conduct charged in any dismissed counts of the Information as
well as all other uncharged related criminal activity may be considered as “relevant conduct”
pursuant to U.S.S.G. § 1B1.3(a)(2), or as part of the “offense of conviction” pursuant to U.S.S.G.
§ 1B1.2.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to Count
One of the Information, that is, Use of a Communication Facility in Drug Trafficking, in violation
of 21 U.S.C. §§ 843(b) and (d)(1), the maximum penalty the Court may impose is not more than

four (4) years imprisonment, a $250,000 fine, and one (1) year of supervised release. The

Z
Case 4:23-cr-00078-DGK Document4 Filed 04/19/23 Page 2 of 12
defendant further understands that this is a Class E felony. Furthermore, the count listed above

requires a $100 mandatory special assessment.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission. While these Guidelines are advisory in nature, and the
Court ordinarily would have the discretion to impose a sentence either less than or
greater than the court-determined advisory Guidelines range, in this instance the
parties agree, pursuant to Rule 11(c)(1)(C), that the Court must impose sentence as
follows: imprisonment for forty-eight (48) months, and one (1) year of supervised
release to follow, on Count One, and a $100 mandatory special assessment. That
forty-eight (48) months imprisonment must run consecutively to any sentence of
imprisonment imposed in Case No. 17-00070-01-CR-W-DGK, defendant’s
revocation case. If the court accepts this plea agreement, it must inform the
defendant that sentence will be imposed in accordance with this agreement of the
parties. Ifthe court rejects this plea agreement, it must, on the record and in open
court, inform the parties that the court rejects the plea agreement, advise the
defendant personally that because the Court is rejecting the plea agreement the
Court is not required to impose sentence in accordance with the agreement of the
parties, give the defendant an opportunity to withdraw defendant’s guilty plea, and
further advise the defendant that if the plea is not withdrawn, the Court may dispose
of the case less favorably toward the defendant than the plea agreement

contemplated;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. inaddition to a sentence of imprisonment, the Court may impose a term
of supervised release of up to one (1) years;

d. ifthe defendant commits a supervised release violation, the Court may
revoke supervised release and impose an additional period of imprisonment of up
to one (1) year without credit for time previously spent on supervised release. In
addition to a new term of imprisonment, the Court also may impose a new period
of supervised release, the length of which cannot exceed one (1) year, less the term
of imprisonment imposed upon revocation of supervised release; and

e. any sentence of imprisonment imposed by the Court will not allow for
parole.

3
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 3 of 12
7. Government’s Agreements. Based upon evidence in its possession at this time, the
United States Attorney’s Office for the Western District of Missouri, as part of this plea agreement,
agrees not to bring any additional charges against defendant for any federal criminal offenses
related to the charge to which defendant has pled herein for which it has venue and which arose
out of the defendant’s conduct described above.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the
United States retains the right to proceed with the original charges and any other criminal
violations established by the evidence. The defendant expressly waives defendant’s right to
challenge the initiation of the dismissed or additional charges if defendant breaches this agreement.
The defendant expressly waives the right to assert a statute of limitations defense if the dismissed
or additional charges are initiated following defendant’s breach of thisagreement. The defendant
further understands and agrees that if the Government elects to file additional charges against him
following a breach of this agreement, defendant will not be allowed to withdraw his plea.

8. Preparation of Presentence Report. The defendant understands the United States
will provide to the Court and the United States Probation Office a government version of the
offense conduct. This may include information concerning the background, character, and
conduct of the defendant, including the entirety of defendant’s criminal activities. The defendant

understands these disclosures are not limited to the count to which defendant has pleaded guilty.

4
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 4 of 12
The United States may respond to comments made or positions taken by the defendant or the
defendant’s counsel and to correct any misstatements or inaccuracies. The United States further
reserves its right to make any recommendations it deems appropriate regarding the disposition of
this case, subject only to any limitations set forth in this plea agreement. The United States and
the defendant expressly reserve the right to speak to the Court at the time of sentencing pursuant
to Rule 32(1)(4) of the Federal Rules of Criminal Procedure.

9, Withdrawal of Plea. Either party reserves the right to withdraw from this plea
agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored
to their pre-plea agreement positions to the fullest extent possible. However, after the plea has
been formally accepted by the Court, the defendant may withdraw defendant’s plea of guilty only

if the Court rejects the plea agreement or if the defendant can show a fair and just reason for

requesting the withdrawal.

10. Agreed Guidelines Applications. With respect to the application of the

Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in
nature. However, if the court accepts this Rule 11(c)(1)(C) plea agreement, the
Court is bound to impose the sentence agreed to by the parties, as set forth in

paragraph 6 above;

b. The applicable Guidelines Manual is the one that took effect on
November 1, 2018;

c. The applicable Guidelines sections for Count One are U.S.S.G.
§§ 2D1.6(a) and 2D1.2(a)(3), which provides for a base offense level of 26;

d. The defendant has admitted guilt and clearly accepted responsibility for
defendant’s actions, and has assisted authorities in the investigation or prosecution
of defendant’s own misconduct by timely notifying authorities of defendant's
intention to enter a plea of guilty, thereby permitting the Government to avoid
preparing for trial and permitting the Government and the Court to allocate their
resources efficiently. Therefore, defendant is entitled to a three-level reduction

5
Case 4:23-cr-00078-DGK Document4 Filed 04/19/23 Page 5 of 12
pursuant to § 3E1.1(b) of the Sentencing Guidelines. The Government, at the time
of sentencing, will file a written motion with the Court to that effect, unless the
defendant (1) fails to abide by all of the terms and conditions of this plea agreement
and defendant's pretrial release; or (2) attempts to withdraw defendant’s guilty plea,
violates the law, or otherwise engages in conduct inconsistent with defendant’s

acceptance of responsibility;

e. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine the
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

f. The defendant understands that the estimated Guideline calculations set
forth in the subsections of this paragraph do not bind the Court or the United States
Probation Office with respect to the Court’s determination of the applicable

advisory Guidelines;

g. The defendant and the United States confirm that the agreed sentence
set forth in paragraph 6 above is both reasonable and authorized by law;

h. The defendant consents to judicial fact-finding by a preponderance of
the evidence for all issues pertaining to the determination of the defendant's
sentence, including the determination of any mandatory minimum sentence
(including the facts that support any specific offense characteristic or other
enhancement or adjustment), and any legally authorized increase above the normal
statutory maximum. The defendant waives any right to a jury determination
beyond a reasonable doubt of all facts used to determine and enhance the sentence
imposed, and waives any right to have those facts alleged in the Information. The
defendant also agrees that the Court, in finding the facts relevant to the imposition
of sentence, may consider any reliable information, including hearsay; and

i. The defendant understands and agrees that the factual admissions
contained in Paragraph 3 of this plea agreement, and any admissions that defendant
will make during the plea colloquy, support the imposition of the agreed-upon
sentence and Guidelines calculations contained in this agreement.

11. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any

Sentencing Guidelines issues other than those specifically listed in Paragraph 10, and its

subsections.

As to any other Guidelines issues, the parties are free to advocate their respective

positions at the sentencing hearing.

6

Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 6 of 12
12. Change in Guidelines Prior to Sentencing. The defendant agrees that if any
applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option. If the Government exercises its option to void the
plea agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal

charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the

United States expressly reserves the right in this case to:

a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea

agreement;

b. comment on the evidence supporting the charge in the Information;

c. Oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court does not impose the sentence

agreed to by parties in this agreement; and

d. oppose any post-conviction motions for reduction of sentence, or other
relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that defendant has been advised of, understands, and knowingly and voluntarily

waives the following rights:

a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until defendant’s guilt has been
established beyond a reasonable doubt at trial;

c. the right to a jury trial, and at that trial, the right to the effective
assistance of counsel;

d. the right to confront and cross-examine the witnesses who testify
against defendant;

7
Case 4:23-cr-00078-DGK Document4 Filed 04/19/23 Page 7 of 12
e. the right to compel or subpoena witnesses to appear on defendant’s
behalf; and

f. the right to remain silent at trial, in which case defendant’s silence may
not be used against defendant.

The defendant understands that by pleading guilty, defendant waives or gives up those
rights and that there will be no trial. The defendant further understands that if defendant
pleads guilty, the Court may ask defendant questions about the offense or offenses to which
defendant pleaded guilty, and if the defendant answers those questions under oath and in
the presence of counsel, defendant's answers may later be used against defendant in a
prosecution for perjury or making a false statement. The defendant also understands
defendant has pleaded guilty to a felony offense and, as a result, will lose the right to

possess a firearm or ammunition and might be deprived of other rights, such as the right to

vote or register to vote, hold public office, or serve on a jury.
15. Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement defendant waives any right to appeal or
collaterally attack a finding of guilt following the acceptance of this plea agreement,
except on grounds of (1) ineffective assistance of counsel; or (2) prosecutorial

misconduct.

b. The defendant expressly waives any right to appeal defendant’s
sentence, directly or collaterally, on any ground except claims of (1) ineffective
assistance of counsel; (2) prosecutorial misconduct; or (3) an illegal sentence. An
“{llegal sentence” includes a sentence imposed in excess of the statutory maximum,
but does vot include less serious sentencing errors, such as a misapplication of the
Sentencing Guidelines, an abuse of discretion, or the imposition of an unreasonable
sentence. However, if the United States exercises its right to appeal the sentence
imposed as authorized by 18 U.S.C. § 3742(b), the defendant is released from this
waiver and may, as part of the Government's appeal, cross-appeal defendant’s
sentence as authorized by 18 U.S.C. § 3742(a) with respect to any issues that have
not been stipulated to or agreed upon in this agreement.

8
Case 4:23-cr-00078-DGK Document4 Filed 04/19/23 Page 8 of 12
16. Financial Obligations.

By entering into this plea agreement, the defendant understands and agrees to the following

financial obligations:

a. The Court may order restitution to the victims of the offense to which
the defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with the conduct charged in any counts of the Information
which are to be dismissed and all other uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures Act
and any other remedies provided by law to enforce any restitution order that may
be entered as part of the sentence in this case and to collect any fine.

c. The defendant will fully and truthfully disclose all assets and property
in which defendant has any interest, or over which the defendant exercises control
directly or indirectly, including assets and property held by a spouse, nominee or
other third party. The defendant’s disclosure obligations are ongoing, and are in
force from the execution of this agreement until the defendant has satisfied the

restitution order in full.

d. Within 10 days of the execution of this plea agreement, at the request of
the USAO, the defendant agrees to execute and submit (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed
financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S. Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant's acceptance of

responsibility.

e. At the request of the USAO, the defendant agrees to undergo any
polygraph examination the United States might choose to administer concerning
the identification and recovery of substitute assets and restitution.

f. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to defendant, which will be used by the USAO to evaluate the
defendant’s ability to satisfy any financial obligations imposed as part of the

sentence.

g. The defendant understands that a Special Assessment will be imposed
as part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior to appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of defendant’s
fulfillment of this obligation at the time of sentencing.

9
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 9 of 12
h. The defendant certifies that defendant has made no transfer of assets or
property for the purpose of (1) evading financial obligations created by this
Agreement; (2) evading obligations that may be imposed by the Court; nor (3)
hindering efforts of the USAO to enforce such financial obligations. Moreover,
the defendant promises that defendant will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000.00) or more,
the United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets.
The defendant agrees not to contest any collection of such assets. In the event the
United States opts to be relieved of its obligations under this plea agreement, the
defendant's previously entered pleas of guilty shall remain in effect and cannot be

withdrawn.

17. Waiver of FOIA Request. The defendant waives all rights, whether asserted
directly or by a representative, to request or receive, or to authorize any third party to request or
receive, from any department or agency of the United States any records pertaining to the
investigation of this case including, without limitation, any records that may be sought under the
Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

18. Waiver of Claim for Attorney’s Fees. The defendant waives all claims under the
Hyde Amendment, 18 U.S.C. § 3006A, for attorney’s fees and other litigation expenses arising out
of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,
violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally

misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States

10
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 10 of 12
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw defendant’s plea.

The defendant also understands and agrees that in the event defendant violates this plea
agreement, all statements made by defendant to law enforcement agents subsequent to the
execution of this plea agreement, any testimony given by defendant before a grand jury or any
tribunal or any leads from such statements or testimony shall be admissible against defendant in
any and all criminal proceedings. The defendant waives any rights that defendant might assert
under the United States Constitution, any statute, Rule 11(f) of the Federal Rules of Criminal
Procedure, Rule 410 of the Federal Rules of Evidence, or any other federal rule that pertains to the
admissibility of any statements made by defendant subsequent to this plea agreement.

20. Defendant’s Representations. The defendant acknowledges entering into this
plea agreement freely and voluntarily after receiving the effective assistance, advice and approval
of counsel. The defendant acknowledges that defendant is satisfied with the assistance of
counsel, and that counsel has fully advised defendant of defendant's rights and obligations in
connection with this plea agreement. The defendant further acknowledges that no threats or
promises, other than the promises contained in this agreement, have been made by the United
States, the Court, defendant’s attorneys or any other party to induce defendant to plead guilty.

21. No Undisclosed Terms. The United States and defendant acknowledge and agree
that the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written

supplemental agreement do not constitute any part of the parties’ agreement and will not be

enforceable against either party.

11
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 11 of 12
22. Standard of Interpretation. The parties agree that, unless the constitutional
implications inherent in plea agreements require otherwise, this plea agreement should be
interpreted according to general contract principles and the words employed are to be given their
normal and ordinary meanings. The parties further agree that, in interpreting this agreement, any
drafting errors or ambiguities are not to be automatically construed against either party, whether

or not that party was involved in drafting or modifying this agreement.

Teresa A. Moore
United States Attorney

Dated: 4 1/4/2023
J . McCarther

Assistant United States Attorney
Violent Crime & Drug Trafficking Unit

 

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Information. Further, I have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read
this plea agreement and carefully reviewed every part of it with my attorney. 1 understand this

plea agreement and | voluntarily agree to it.

YFP} Dane! Lh {beg

David L. Kerr
Defendant

Dated:

 

I am defendant David L. Kerr’s attorney. I have fully explained to him his rights with
respect to the offense charged in the Information. Further, I have reviewed with him the
provisions of the Sentencing Guidelines which might apply in this case. I have carefully
reviewed every part of this pleaagreement withhim. To my knowledge, David L. Kerr’s decision

to enter into this plea agreement is an informed “LL, Oo
Dated: J fs y y iy)

John’A. Picerno
Attorney for Defendant David L. Kerr

12
Case 4:23-cr-00078-DGK Document 4 Filed 04/19/23 Page 12 of 12
